Case 2:03-cv-02674-BBD-dl<v Document 86 Filed 06/16/05 Page 1 of 3 Page|D 78

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lN THE UN|TED STATES DlSTRlCT COURT FOR THE WE$TERN D'lél RlCT OF

 

TENNESSEE WEsTERN ol\/lsioN ma gm \ 6 vw w 1233
MicHAEL cuRsEY and MARY l_. HucHEs, ' `U z §§“g:§;li"':
P|aintiffs, ;§§§§“'llll} el n
vs. No. 03-2674 o/\/

FlCKRY RAPHAEL, Ul\/|A GROUF’, LTD.
d/b/a CONSULTANTS Ul\/lA, AVlS RENT

A CAR SYSTEl\/l, |NC., S||V|ON PROPERTY
GROUP, L.P., RALElGH SPR!NGS, LLC., and
SEARS, ROEBUCK AND CO.,

Defendants.

 

ORDER GRANT|NG JOINT MOT|ON FOR EXTENS|ON OF DEADL|NES

 

This matter is before the Court on the Parties’ Joint |Vlotion to extend the
discovery deadline and the deadline for filing expert disclosures Upon consideration of
the Parties’ motion and for good cause shown:

lt is therefore, ORDERED, DECREED, and ADJUDGED that the deadline for
completing all Written discovery and depositions and for filing expert disclosures be
extended thirty (30) days, up to and including Ju|y 15, 2005, With an additional ten (10)
day period for objecting to any response, answer, or objection, up to and including July

25, 2005.

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UN|TED STATES l\/|AGISTRATE JUDGE

Th`ls document entered on the dock shea in compliance
With Fluie 58 and/or 79(a} FFlCP on § ‘/ Z“O; @

Case 2:03-cv-02674-BBD-dl<v Document 86 Filed 06/16/05 Page 2 of 3 Page|D 79

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Honorable Bernice Donald
US DISTRICT COURT

